            Case 4:22-cv-00330-JM Document 16-3 Filed 03/09/23 Page ELECTRONICALLY
                                                                    1 of 3         FILED
                                                                                           Pulaski County Circuit Court
                                                                                     Terri Hollingsworth, Circuit/County Clerk
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                                                                                           60CV-17-5247
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              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                               FOURTH DIVISION


ANGELA MOODY                                                                           PLAINTIFF

V.                                  CASE NO.: 60CV-17-5247

JAMES R. FLENS                                                                     DEFENDANT


                                     MOTION TO DISMISS

       Comes now, Defendant, Janes R. Flens, by and through his attorneys, DOVER DIXON

HORNE PLLC, and for his Motion to Dismiss, states:

       1.       Plaintiff filed this action on September 20, 2017.

       2.       Defendant was served on October 19, 2017 and filed his Answer and Jury

Demand on November 17, 2017.

       3.       A Status Hearing was conducted on October 22, 2018.

       4.       On November 20, 2018 Judge Tim Fox entered his Order of Recusal and this

matter was transferred out of the Sixth Division Circuit Court and returned to the Circuit Clerk

for reassignment to another division.

       5.       This matter was transferred to the Twelfth Division Circuit Court.

       6.       On January 11, 2019, Judge Alice Gray entered her Order of Recusal and this

matter was transferred out of the Twelfth Division and returned to the Circuit Clerk for

reassignment to another division.

       7.       This matter was reassigned to the Fourth Division Circuit Court.
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        8.       Plaintiff has taken no action on this matter since the status hearing of October 22,

2018.

        9.       Defendant moves pursuant to Rule 41, Arkansas Rules of Civil Procedure, that

this case be dismissed without prejudice, for want of prosecution.

        10.       Defendant prays this Court enter an Order of Dismissal to dismiss Plaintiff’s

Complaint without Prejudice.

        WHEREFORE, Defendant prays that his Motion to Dismiss be granted, that the Court

enter an Order of Dismissal dismissing Plaintiff’s Complaint without prejudice, for his costs and

attorney’s fees, and to all to all other relief that he may be entitled.


                                                Respectfully Submitted,

                                                DOVER DIXON HORNE, PLLC
                                                425 West Capitol Avenue, Suite 3700
                                                Little Rock, Arkansas 72201
                                                Phone: (501) 375-9151 / Fax: (501) 375-6484
                                                E-Mail: twooten@ddh.law




                                                By:
                                                        Todd Wooten (AR Bar No. 94034)

                                                Attorney for Defendant, James R. Fens




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                                CERTIFICATE OF SERVICE


        I, Todd Wooten, certify that on this 22nd day of January, 2021, I electronically filed the
foregoing pleading with the Clerk of Court using the E-flex System, which will send notification
of the filing to the following:

       Danny R. Crabtree
       Attorney at Law
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       Little Rock, AR 2201
       (501) 372-0800
       Email: Danny.Crabtree@sbcglobal.net

       Attorney for Plaintiff




                                                           TODD WOOTEN




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